                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )          No. 3:11-00194
                                                 )          JUDGE CAMPBELL
STERLING RENEVA RIVERS                           )


                                             ORDER

       Through the First Motion In Limine Regarding Corrupt Law Enforcement Office, John

Edwards (Docket No. 728), and the Supplemental Motion In Limine Regarding Corrupt Law

Enforcement Officer, John Edwards (Docket No. 1000), the Government seeks to exclude any

evidence and argument regarding former Wilson County Sheriff's Deputy John Edwards'

participation in the investigation of Defendant Rivers. In his Responses (Docket Nos. 1351,

1404), the Defendant claims that Defendant Edwards’ testimony is pivotal to his defense.

       In a prior Sealed Order (Docket No. 1363), the Court denied the Defendant’s request to

issue a subpoena for Mr. Edwards because the Defendant had not articulated the relevance of

Mr. Edwards’ testimony to the issues at trial. In his more recent filings, the Defendant suggests

that the discovery shows greater involvement by Mr. Edwards in the investigation underlying the

charges in this case.

       In short, the parties have radically conflicting views on Mr. Edwards’ involvement in this

case, and the Court is unable to made a determination of relevance based on the parties’ filings.

Accordingly, the Court authorizes the Defendant to issue a subpoena for the testimony of Mr.

Edwards at a hearing to be held on August 15, 2013, at 9:00 a.m. The purpose of the hearing is

to give the Defendant an opportunity to establish the relevance of Mr. Edwards’ testimony at




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trial. The Motions are taken under advisement pending the hearing.

       The Defendant shall comply with the standard procedures of the Court’ Clerk’s Office

and the U.S. Marshal’s Service with regard to the subpoena. In accordance with Federal Rule of

Criminal Procedure 17(b), the process costs and witness fees will be paid in the same manner as

those paid for witnesses the Government subpoenas. Defendant Rivers shall inform counsel for

Defendant Edwards of such subpoena.

       It is so ORDERED.



                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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